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AO 442 (Rev LT) Arrest Warrant ltasD Go 2

 

UNITED STATES DISTRICT COURT

for the

 

weg yet District of Columbia

Uni 5 of :
nited States of America Case: 4:21-mj-00202

* Assigned to: Judge Harvey, G. Michael

) Assign Date: 2/5/2021
) Description: COMPLAINT W/ARREST WARRANT

RUBEN VERASTIGUI }
)

Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

fname of person to be arrested) RUBEN VERASTIGUI
who is accused of an offense or violation based on the followin ing » document filed Ww ‘ith the court:

1 Indictment J Superseding Indictment 1 Information J Superseding Information Complaint
1 Probation Violation Petition J Supervised Release Violation Petition Violation Notice 7 Order of the Court

This offense is briefly described as follows:

Receipt and possession of child pornography, in violation of 18 U.S.C. section 2252A(a)(2) and section 2252A(a)(5)(B).

 

f Digitally signed by G
WW I; Michael Harvey
(4 bos Date: 2021.02.05
fssuiny officer's signature
City and state: Washington, D.C. _.. .....G, Michael Harvey, US Magistrate Judge

Printed naine and title

 

Return

 

 

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Arresting officer's signature

— Steven Caldivell DEO

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This w ma W ash Ashington DC on ee 5 /. or \ . and the person was arrested on (date) 2 / y/ A024, |

 

 
